               Case 1:20-mc-00183-MEH Document 2 Filed 10/22/20 USDC Colorado Page 1 of 2


$2 5HY :DUUDQWWR6HL]H3URSHUW\ 6XEMHFWWR)RUIHLWXUH


                                              81,7(' 67$7(6 ',675,&7 &2857
                                                                             IRUWKH
                                                                    District of Colorado
                                                              BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                   ,QWKH0DWWHURIWKH6HL]XUHRI
             (Briefly describe the property to be seized)
          $OO IXQGV XS WR  LQ 0LUDEDXG %DQN                              &DVH1RPF0(+
           DFFRXQW  LQ WKH QDPH RI (GJH &DSLWDO
               ,QYHVWPHQWV /WG ORFDWHG LQ 6ZLW]HUODQG


                                  :$55$17726(,=(3523(57<68%-(&772)25)(,785(

7R $Q\DXWKRUL]HGODZHQIRUFHPHQWRIILFHU

       $QDSSOLFDWLRQE\DIHGHUDOODZHQIRUFHPHQWRIILFHURUDQDWWRUQH\IRUWKHJRYHUQPHQWUHTXHVWVWKDWFHUWDLQSURSHUW\
      ORFDWHGLQ                                  6ZLW]HUODQG                                          EHVHL]HGDVEHLQJ
      VXEMHFWWRIRUIHLWXUHWRWKH8QLWHG6WDWHVRI$PHULFD7KHSURSHUW\LVGHVFULEHGDVIROORZV


  $OO IXQGV XS WR  LQ 0LUDEDXG %DQN DFFRXQW  LQ WKH QDPH RI (GJH &DSLWDO ,QYHVWPHQWV /WG ORFDWHG LQ
  6ZLW]HUODQG



     ,ILQGWKDWWKHDIILGDYLW V DQGDQ\UHFRUGHGWHVWLPRQ\HVWDEOLVKSUREDEOHFDXVHWRVHL]HWKHSURSHUW\

     <28$5(&200$1'('WRH[HFXWHWKLVZDUUDQWDQGVHL]HWKHSURSHUW\RQRUEHIRUH                                  1RYHPEHU
                                                                                                                         (not to exceed 14 days)
      [
      u   LQWKHGD\WLPHDPWRSP                 u DWDQ\WLPHLQWKHGD\RUQLJKWEHFDXVHJRRGFDXVHKDVEHHQHVWDEOLVKHG

   8QOHVVGHOD\HGQRWLFHLVDXWKRUL]HGEHORZ\RXPXVWDOVRJLYHDFRS\RIWKHZDUUDQWDQGDUHFHLSWIRUWKHSURSHUW\WDNHQWRWKH
SHUVRQIURPZKRPRUIURPZKRVHSUHPLVHVWKHSURSHUW\ZDVWDNHQRUOHDYHWKHFRS\DQGUHFHLSWDWWKHSODFHZKHUHWKH
SURSHUW\ZDVWDNHQ

   $QRIILFHUSUHVHQWGXULQJWKHH[HFXWLRQRIWKHZDUUDQWPXVWSUHSDUHDVUHTXLUHGE\ODZDQLQYHQWRU\RIDQ\SURSHUW\VHL]HG
DQGWKHRIILFHUH[HFXWLQJWKHZDUUDQWPXVWSURPSWO\UHWXUQWKLVZDUUDQWDQGDFRS\RIWKHLQYHQWRU\WR
                     0LFKDHO(+HJDUW\                     
                        (United States Magistrate Judge)


    u 3XUVXDQWWR86&D E ,ILQGWKDWLPPHGLDWHQRWLILFDWLRQPD\KDYHDQDGYHUVHUHVXOWOLVWHGLQ86&
  H[FHSWIRUGHOD\RIWULDO DQGDXWKRUL]HWKHRIILFHUH[HFXWLQJWKLVZDUUDQWWRGHOD\QRWLFHWRWKHSHUVRQZKRRUZKRVH
SURSHUW\ZLOOEHVHDUFKHGRUVHL]HG(check the appropriate box)
    u IRU           GD\V QRWWRH[FHHG          u XQWLOWKHIDFWVMXVWLI\LQJWKHODWHUVSHFLILFGDWHRI                    



'DWHDQGWLPHLVVXHG
                                                                                                         Judge’s
                                                                                                         Judg
                                                                                                            ge’s signat
                                                                                                                 signature
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&LW\DQGVWDWH           'HQYHU &RORUDGR                                                 0LFKDHO ( +HJDUW\ 86 0DJLVWUDWH -XGJH
                                                                                                       Printed name and title
              Case 1:20-mc-00183-MEH Document 2 Filed 10/22/20 USDC Colorado Page 2 of 2


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&DVH1R                                        'DWHDQGWLPHZDUUDQWH[HFXWHG              &RS\RIZDUUDQWDQGLQYHQWRU\OHIWZLWK


,QYHQWRU\PDGHLQWKHSUHVHQFHRI


,QYHQWRU\RIWKHSURSHUW\WDNHQ




                                                                              &HUWLILFDWLRQ


   ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQYHQWRU\LVFRUUHFWDQGZDVUHWXUQHGDORQJZLWKWKHRULJLQDOZDUUDQWWRWKH
GHVLJQDWHGMXGJH

'DWH
                                                                                                    Executing officer’s signature



                                                                                                       Printed name and title
